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                                                       Case: 2:20−mj−30477
                                                       Assigned To : Unassigned
                                                       Assign. Date : 11/9/2020
                                                       Description: USA V. SEALED
                                                       MATTER (CMP)(MEV)
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                                    AFFIDAVIT

      I, Mark A. Jackson, being duly sworn, hereby state the following:

           I.       INTRODUCTION AND AGENT BACKGROUND

      1.        I have been employed as a Special Agent with the Bureau of Alcohol,

Tobacco, Firearms and Explosives in Detroit, Michigan since 2000. Prior to this, I

was employed as a Senior Customs Inspector with the United States Customs

Service in Detroit, Michigan for approximately three and a half years. Along with

other training I have received, I am a certified law enforcement instructor and

regularly teach firearms trafficking courses to ATF and other agencies both at the

ATF Academy and at advanced firearms trafficking training courses. I have

participated in hundreds of investigations involving violations of federal firearms

and narcotics laws, resulting in the arrest and convictions of numerous criminal

defendants and the seizure of large quantities of firearms.

      2.        I make this affidavit from personal knowledge based on my

participation in this investigation, including witness interviews by myself and/or

other law enforcement agents, communications with others who have personal

knowledge of the events and circumstances described herein, and information gained

through my training and experience. The information outlined below is provided for

the limited purpose of establishing probable cause and does not contain all details or

all facts of which I am aware relating to this investigation.


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      3.    I am conducting an investigation into violations of 18 U.S.C.

§ 922(a)(6) (false statement during purchase of a firearm) and 18 U.S.C.

§ 924(a)(1)(A) (making a false statement in a Federal Firearms Licensee’s records)

committed by Ryan VANDENDRIESSCHE.

      4.    This affidavit is being submitted in support of an application for an

arrest warrant for VANDENDRIESSCHE.

                           II.   PROBABLE CAUSE

      5.    In September 2020, I discovered that VANDENDRIESSCHE had

recently purchased 25 firearms over approximately three months from seven

different Federal Firearms Licensees (FFLs) in the metro Detroit area. Furthermore,

VANDENDRIESSCHE has not registered eight of these handguns with the State of

Michigan, as required by state law.

      6.    On October 8, 2020, I learned that a RGuns KTA15, 5.56 caliber

handgun     bearing     serial    number      YYZB-000861,        purchased     by

VANDENDRIESSCHE, had been recovered by the Detroit Police Department in a

stolen vehicle on September 30, 2020.          This firearm was purchased by

VANDENDRIESSCHE on August 25, 2020 at Top Gun Shooting Sports in Taylor,

Michigan, with a time-to-crime of 36 days.

      7.    On October 19, 2020, I learned that the Glock model 21, .45 caliber

handgun bearing serial number AETS624, purchased by VANDENDRIESSCHE,


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had been recovered by the Detroit Police Department on September 29, 2020. This

firearm was purchased by VANDENDRIESSCHE on September 14, 2020 at

Downriver Guns and Ammo in Brownstown, Michigan, with a time-to-crime of 15

days.

        8.   I spoke with representatives at five of the FFLs, who all described the

same scenario when VANDENDRIESSCHE purchased his firearms.                     I also

reviewed several pieces of surveillance footage from five of the FFLs who still had

video of at least one of VANDENDRIESSCHE’s purchases, and all of the purchases

and videos exhibit the same pattern. VANDENDRIESSCHE is always driven to the

FFL by an unidientified person, multiple times arriving in a red Chevrolet Monte

Carlo or a black Dodge Challenger. VANDENDRIESSCHE is always a passenger,

along with another unidentified black male passenger with long hair.

VANDENDRIESSCHE and the unidentified black male will often enter the store

separately and browse the store as if they do not know each other. Occasionally, the

two men will be seen on video talking briefly before going their separate ways. One

FFL representative stated that he/she observed the two men and heard them talking

to each other as if they do not know each other, asking what they are shopping for

and making similar small talk. In all of these videos, VANDENDRIESSCHE

purchases a firearm, he and the unidentified black male exit the store separately, the




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two men get in the same vehicle that they arrived in, and they are driven away by an

unknown driver who cannot be seen in any of the videos.

       9.     I have reviewed the ATF Forms 4473 for the 25 firearms that

VANDENDRIESSCHE purchased, all of which list his address as 15002 Knollway

or 15002 Kinollway, Romulus, Michigan. I have interviewed the residents at 15002

Knoll Way, who state that they have lived there since approximately January 2020

and do not know VANDENDRIESSCHE, but they do occasionally get mail for him.

I have also spoken with the resident directly next door to 15002 Knoll Way, who

stated that he has lived in that apartment for approximately one year and did not

recognize VANDENDRIESSCHE when I showed him a current Secretary of State

photo of VANDENDRIESSCHE.

       10.    On September 28, 2020, I called VANDENDRIESSCHE in an attempt

to set up an interview with him. VANDENDRIESSCHE was very evasive and stated

that he was out of town visiting family, would not elaborate on where he was, and

did not know when he would be back.

       11.    On September 29, 2020, I received a voicemail message from

VANDENDRIESSCHE who stated, “This is Ryan calling you back, I’m trying to

figure out why you keep trying to investigate me when my shit’s like . . . it’s stolen,

it’s probably stolen and shit, I haven’t been home. I’ve been calling around about it

too . . . called Taylor, called all them . . . .”


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      12.      I queried VANDENDRIESSCHE’s firearms in LEIN and none have

been reported stolen.

      13.      Industry Operations Investigator (IOI) Karen Sharpe queried the

Federal Licensing System, which revealed that VANDENDRIESSCHE does not

have a Federal Firearms License permitting him to repetitively buy and sell firearms.

      14.      To purchase a firearm, the purchaser must fill out a federal form entitled

“Firearms Transaction Record,” or ATF Form 4473. On every Form 4473, question

11.a. asks whether the individual filling out the form is the “actual transferee/buyer,”

and warns that “You are not the actual transferee/buyer if you are acquiring the

firearm(s) on behalf of another person.” Under federal law, with a few exceptions

(i.e. gifts), the purchaser is not allowed to purchase a firearm for someone else. This

is called a “straw purchase” and violates 18 U.S.C. § 922(a)(6), which prohibits

making a false statement during the purchase of a firearm.

      15.      I   have    acquired    all   ATF     Forms     4473     completed     by

VANDENDRIESSCHE between August 25, 2020 and September 16, 2020. On

each, VANDENDRIESSCHE indicated that he was the “actual transferee/buyer” of

the firearm.

      16.      Another section of the ATF Form, located directly above the purchaser

signature line, informs the purchaser of specific federal violations that pertain to

firearm purchases. This section also asks about truthfulness on responses to the


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earlier questions. It states, “I further understand that the repetitive purchase of

firearms for the purpose of resale for livelihood and profit without a Federal firearms

license is a violation of Federal law (see instructions for Question 14).” The

instructions for Question 14 pertain to the federal statute 18 U.S.C. § 922 (a)(1)(A),

which makes it unlawful for a person to deal in firearms without a license. A person

is engaged in the business of dealing in firearms if he/she devotes time, attention,

and labor to dealing in firearms as a regular course of trade or business with the

principal objective of livelihood and profit through the repetitive purchase and resale

of firearms.

      17.      Furthermore, federal law requires the FFL to maintain these records for

ATF, and the information contained in the records supplied by the purchaser must

be correct. In Section A, question 2, the form asks for the purchaser’s current

residence address. In each of these forms, VANDENDRIESSCHE completed the

form and claimed that his current address is 15002 Knoll Way, Romulus, Michigan.

      18.      VANDENDRIESSCHE has purchased multiple firearms—many of

similar or identical make and model—over the past three months. Based on my

training and experience, and daily interation with the firearms trade, none of the

firearms purchased by VANDENDRIESSCHE have any collector’s value. In fact,

many of the firearms that VANDENDRIESSCHE purchased are among the most

commonly recovered crime guns in the Detroit area.


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      19.    I know, based on my training, experience, and past firearms trafficking

investigations, that individuals who purchase multiples of inexpensive handguns,

particularly over a short period of time, are often illegal firearms dealers. I know

from my training and experience, having traced hundreds of firearms and based on

my almost daily interaction with firearms and the firearms industry, that a great

majority of firearms purchased by VANDENDRIESSCHE fit into this illegal

trafficking category.

      20.    Of the 25 firearms referenced in paragraph 5 that were purchased by

VANDENDRIESSCHE, 23 are handguns and two are rifles. Handguns must be

registered   with   the   State   of    Michigan,   as   required   by   state   law.

VANDENDRIESSCHE registered 15 of the 23 handguns he purchased, showing

that he is aware of Michigan’s firearms registration requirement. Yet he failed to

register the remaining eight handguns. I know that this failure to register some

firearms is often done in an attempt to avoid law enforcement detection and scrutiny

if trafficked firearms are recovered.




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        November 9, 2020
